            IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF MISSOURI
                         WESTERN DIVISION

UNITED STATES OF AMERICA,             Case No. 18-00293-01/12-CR-W-DGK

                 Plaintiff,           COUNT ONE: All Defendants EXCEPT
                                      Sparks
     v.                               (Conspiracy Distribute Methamphetamine)
                                      21 U.S.C. §§ 841(a)(1), (b)(1)(A) & 846
(01) GERALD L. GINNINGS,              NLT: 10 Years Imprisonment
[DOB: 01/02/1980],                    NMT: Life Imprisonment
                                      NMT: $10,000,000 Fine
(02) TREVOR SCOTT SPARKS,             NLT: 5 Years Supervised Release
[DOB: 02/09/1989],                    Class A Felony

(03) MARKUS MICHAEL A. PATTERSON,     COUNT TWO: All Defendants
[DOB: 12/12/1982],                    (Conspiracy to Commit Money Laundering)
                                      18 U.S.C. §§1956(a)(1)(A)(i),(B)(i),(ii), & (h)
(4) GLORIA MAY JONES,                 NMT: Twenty Years Imprisonment
[DOB: 8/31/1989],                     NMT: $500,000 Fine
                                      NMT: Three Years Supervised Release
(5) VICENTE ARAUJO,                   Class C Felony
[DOB: 9/20/1996],
                                      COUNT THREE: Defendant SPARKS only
(6) LESLIE LADON WALKER,              (Continuing Criminal Enterprise)
[DOB: 7/2/1987],                      21 U.S.C. §§ 848(a)(b)(c) & (s)
                                      NLT 20 Years Imprisonment
(7) DAVID ROBERT RICHARDS II,         NMT Life Imprisonment
[DOB: 10/19/1987],                    NMT $2,000,000 Fine
                                      NLT 5 Years Supervised Release
(8) CHRISTIAN DOUGLAS HANSEN,         Class A Felony
[DOB: 04/14/1979],
                                      COUNT FOUR: All Defendants EXCEPT
(9) STEPHANIE THURMOND,               Kibodeaux
[DOB: 11/2/1990],                     (Possess Firearms with Drug Trafficking)
                                      18 U.S.C. § 924(c)(1)(A)(i)
(10) LEEANNA MICHELLE SCHROEDER,      NLT: 5 Years and NMT Life Imprisonment
[DOB: 6/4/1993],                      NMT: $250,000 Fine
                                      NMT: 5 Years Supervised Release
(11) ADAM JOSEPH MAINIERI,            Class A Felony
[DOB: 3/1/1988],




      Case 4:18-cr-00293-DGK Document 18 Filed 12/12/18 Page 1 of 10
 (12) PAUL J. KIBODEAUX,                           COUNT FIVE: Defendants Ginnings,
 [DOB: 4/22/1983],                                 Sparks, Patterson, Jones, Hansen, and
                                                   Mainieri only
                       Defendants.                 (Felon Possess Firearm and Ammunition)
                                                   18 U.S.C. §§ 922(g)(1) & 924(a)(2)
                                                   NMT: 10 Years Imprisonment
                                                   NMT: $250,000 Fine
                                                   NMT: 3 Years Supervised Release
                                                   Class C Felony

                                                   ALLEGATION OF CRIMINAL
                                                   FORFEITURE: All Defendants
                                                   21 U.S.C. § 853

                                                   $100 Mandatory Special Assessment for each
                                                   count of conviction

                              SUPERSEDING INDICTMENT
       THE GRAND JURY CHARGES THAT:

                      COUNT ONE – all Defendants EXCEPT Sparks
            (Conspiracy to Distribute more than 500 Grams of Methamphetamine)

       Between on or about January 1, 2017, and December 12, 2018, the exact dates unknown to

the Grand Jury, within the Western District of Missouri and other places, GERALD L.

GINNINGS, MARKUS MICHAEL A. PATTERSON, GLORIA MAY JONES, VICENTE

ARAUJO, LESLIE LADON WALKER, DAVID ROBERT RICHARDS, II, CHRISTIAN

DOUGLAS HANSEN, STEPHANIE THURMOND, LEEANNA MICHELLE SCHROEDER,

ADAM JOSEPH MAINIERI, and PAUL J. KIBODEAUX, defendants herein, did knowingly and

intentionally combine, conspire, confederate, and agree with each other, and others, both known

and unknown to the Grand Jury, to distribute five-hundred (500) grams and more of

methamphetamine, a Schedule II controlled substance, contrary to the provisions of Title 21,

United States Code, Sections 841(a)(1), (b)(1)(A) and 846.




                                               2


        Case 4:18-cr-00293-DGK Document 18 Filed 12/12/18 Page 2 of 10
                                COUNT TWO – all Defendants
                           (Conspiracy to commit Money Laundering)

       Between on or about January 1, 2017, and December 13, 2018, the exact dates unknown to

the Grand Jury, within the Western District of Missouri and other places, GERALD L.

GINNINGS, TREVOR SCOTT SPARKS, MARKUS MICHAEL A. PATTERSON, GLORIA

MAY JONES, VICENTE ARAUJO, LESLIE LADON WALKER, DAVID ROBERT

RICHARDS, II, CHRISTIAN DOUGLAS HANSEN, STEPHANIE THURMOND, LEEANNA

MICHELLE SCHROEDER, ADAM JOSEPH MAINIERI, and PAUL J. KIBODEAUX,

defendants herein, and others, both known and unknown to the Grand Jury, knowing that the

property involved in the financial transactions represented the proceeds of some form of unlawful

activity, did knowingly and intentionally combine, conspire, confederate and agree with each other

and others, both known and unknown to the Grand Jury, to conduct financial transactions which

in fact involved the proceeds of a specified unlawful activity, to wit: conspiracy to distribute

controlled substances, contrary to the provisions of Title 21, United States Code, Sections

841(a)(1) and 846, as charged in Count One of this superseding indictment, with the intent to

promote the carrying on of that specified unlawful activity, to wit: items of value, including cash,

obtained from illegal controlled substance sales (i.e. “proceeds”) were used in whole or part to

purchase additional controlled substances for sale, thus promoting the charged conspiracy, and

additionally, knowing the transactions were designed to conceal the nature, source, location,

ownership, and control of the said proceeds and to avoid reporting requirements, in that cash,

obtained from controlled substance sales (i.e., “proceeds”), was then deposited, in whole or part,

into various financial institution accounts or stored, used, transmitted, or transported in such a




                                                 3


         Case 4:18-cr-00293-DGK Document 18 Filed 12/12/18 Page 3 of 10
manner as to conceal its true nature, source, location ownership, and control, and to avoid bank

reporting requirements, all thus concealing the proceeds from the drug conspiracy.

         All in violation of Title 18, United States Code, Sections 1956(a)(1)(A)(i), (B)(i), (ii) and

(h).

         The object of the conspiracy was to use drug sale proceeds to promote the drug trafficking

conspiracy charged in Count One and to conceal drug sale proceeds of that drug trafficking

conspiracy.

         The manner and means by which the conspiracy was sought to be accomplished included,

among others, the following:

         1.     It was part of the conspiracy that its members would and did buy and sell illicit

drugs.

         2.     It was further a part of the conspiracy that its members would and did obtain

proceeds, in different ways or forms, from said buying and selling of illicit drugs.

         3.     It was further a part of the conspiracy that its members would and did treat the said

proceeds in such a manner as to conceal the nature, source, location, ownership, and control of

said proceeds and to avoid reporting requirements of said proceeds.

         4.     It was further a part of the conspiracy that its members would and did promote the

conspiracy by exchanging items of value they obtained in a variety of manners for drugs to use

and sale.

         5.     It was further a part of the conspiracy that its members would and did promote the

conspiracy by obtaining additional illicit drugs for distribution with said proceeds.

         6.     It was further part of the conspiracy that its members would and did obtain assets

with cash drug proceeds and did not identify the cash as drug proceeds.

                                                  4


            Case 4:18-cr-00293-DGK Document 18 Filed 12/12/18 Page 4 of 10
       7.      It was further a part of the conspiracy that its members would and did deposit or

transmit cash drug proceeds in and with various financial institutions and money transmitting

businesses and not identify them as drug proceeds.

       In furtherance of the conspiracy and to affect the objects of the conspiracy, the following

overt acts, among others, were committed in the Western District of Missouri and elsewhere:

       1.      During the conspiracy period, conspirators both charged and uncharged, paid cash

for controlled substances, thereby obscuring the drug trafficking conspiracy.

       2.      During the conspiracy period, conspirators packaged, transported, stored and used

said proceeds without revealing their true source and in a manner as to conceal that true source.

       3.      During the conspiracy period, conspirators operated with coded terms and

maintained coded records of drug amounts sold and cash proceeds collected or owed for drugs,

thereby obscuring the nature and source of the cash.

       4.      During the conspiracy period, conspirators used cash proceeds from drug sales to

fund other activities such as real property purchases, personal property purchases, travel, and living

expenses, thereby obscuring the nature, source, or ownership of the cash.

       5.      During the conspiracy period, cash from drug sale proceeds was deposited,

transmitted, or stored in such a manner so as to not reveal its source, location, or ownership and to

avoid reporting requirements.




                                                  5


         Case 4:18-cr-00293-DGK Document 18 Filed 12/12/18 Page 5 of 10
       6.      During the conspiracy, on multiple occasions, conspirators took cash obtained from

drug sales and used those drug sale proceeds to purchase additional controlled substances.

       All in violation of Title 18, United States Code, Sections 1956(a)(1)(A)(i), (B)(i), (ii) and

(h).

                                     COUNT THREE
                 (Continuing Criminal Enterprise – Defendant SPARKS only)

       That on or about between January 1, 2017, and December 12, 2018, the exact dates

unknown to the Grand Jury, in the Western District of Missouri and other places, TREVOR

SCOTT SPARKS, defendant herein, did knowingly and intentionally engage in a continuing

criminal enterprise by knowingly and intentionally violating Title 21, United States Code,

Sections 841 et seq., which violations include, but are not limited to, the violations contained in,

referenced in and supporting Count One of this superseding indictment, which violations are all

re-alleged and incorporated herein as if set out word for word, and said violations were part of a

continuing series of violations of Title 21, United States Code, Sections 801, et seq., undertaken

by the defendant, TREVOR SCOTT SPARKS, in concert with five or more other persons, which

could include but not be limited to indicted and unindicted co-conspirators and others, including

the defendants listed in this indictment, with respect to whom Defendant TREVOR SCOTT

SPARKS occupied a position of organizer, supervisor, or manager and from this ongoing criminal

enterprise the defendant, TREVOR SCOTT SPARKS, obtained substantial income or resources.

       Furthermore, the defendant, TREVOR SCOTT SPARKS, was the principal administrator,

organizer or leader of the continuing criminal enterprise and which involved possession with intent

to distribute and distribution of a mixture or substance containing methamphetamine in an amount




                                                 6


         Case 4:18-cr-00293-DGK Document 18 Filed 12/12/18 Page 6 of 10
of at least 10,000 grams and which received $5,000,000.00 in gross receipts during any 12-month

period of its existence.

       All in violation of Title 21, United States Code, Sections 848 (a)(b)(c) and (s).

                                       COUNT FOUR
                       All Defendants EXCEPT Defendant KIBODEAUX
                        (Possession of Firearms and Drug Trafficking)

       On or about between January 1, 2017, and December 12, 2018, within the Western District

of Missouri, and other places, but all related to crimes of violence and drug trafficking crimes

within the Western District of Missouri, the defendants, GERALD L. GINNINGS, TREVOR

SCOTT SPARKS, MARKUS MICHAEL A. PATTERSON, GLORIA MAY JONES, VICENTE

ARAUJO, LESLIE LADON WALKER, DAVID ROBERT RICHARDS, II, CHRISTIAN

DOUGLAS HANSEN, STEPHANIE THURMOND, LEEANNA MICHELLE SCHROEDER,

and ADAM JOSEPH MAINIERI, in furtherance of and during and in relation to crimes of violence

and drug trafficking crimes for which they may be prosecuted, as set out in this indictment and

otherwise, did knowingly and intentionally carry, possess, use, brandish, and discharge firearms,

to-wit: various un-recovered but described firearms, firearms recovered November 22, 2018, from

the vehicle abandoned by Vicente Araujo (Beretta 92S 9 mm semi-automatic handgun, serial #

U22039Z, Smith and Wesson 40 caliber semi-automatic handgun # DTL2346, Glock model 22

semiautomatic handgun # NBW256), VMAC MAC 11 .45 caliber handgun # P14280), WISE .223

AR pistol # 11969, and a M92PV AK47 pistol # M92PV065595), a Marlin, .22 caliber long rifle,

Serial Number 22347947, a Cobra SF380, .380 caliber semi-automatic pistol, Serial Number

FS0999788, with one magazine, and a tan in color (“peanut butter”) Glock 19, 9mm semi-

automatic pistol, Serial Number ABZX738, all contrary to the provisions of Title 18, United States

Code, Sections 924(c)(1)(A)(i), (ii), and (iii).

                                                   7


         Case 4:18-cr-00293-DGK Document 18 Filed 12/12/18 Page 7 of 10
                                      COUNT FIVE
         Defendants Ginnings, Sparks, Patterson, Jones, Hansen, and Mainieri, only
                       (Felon in Possession of a Firearm and Ammunition)

       On or about between January 1, 2017, and December 12, 2018, within the Western District

of Missouri, GERALD L. GINNINGS, TREVOR SCOTT SPARKS, MARKUS MICHAEL A.

PATTERSON, GLORIA MAY JONES, CHRISTIAN DOUGLAS HANSEN, and ADAM

JOSEPH MAINIERI, defendants herein, having been convicted of a crime punishable by

imprisonment for a term exceeding one year, did knowingly possess, in and affecting interstate

commerce, firearms and ammunition, to wit: various un-recovered but described firearms, a

Marlin, .22 caliber long rifle Serial Number 22347947, a Cobra SF380, .380 caliber semi-

automatic pistol, Serial Number FS0999788, with one magazine, and a tan in color (“peanut

butter”) Glock 19, 9mm semi-automatic pistol, Serial Number ABZX738, all which had been

transported in interstate commerce, all contrary to the provisions of Title 18, United States Code,

Sections 922(g)(1) and 924(a)(2).

                              ALLEGATIONS OF FORFEITURE

       The allegations contained in Count One of this superseding indictment are re-alleged and

incorporated by reference for the purpose of alleging forfeiture pursuant to the provisions of Title

21, United States Code, Section 853.

       Each defendant named herein shall forfeit to the United States all property, real and

personal, constituting or derived from any proceeds the defendant obtained directly and indirectly

as a result of the violation incorporated by reference in this Allegation of Forfeiture Count and all

property used, or intended to be used, in any manner or part, to commit, and to facilitate the

commission of the violation incorporated by reference in this allegation, including but not limited

to the following:

                                                 8


         Case 4:18-cr-00293-DGK Document 18 Filed 12/12/18 Page 8 of 10
                                      MONEY JUDGMENT

       As to all defendants, they shall forfeit any and all interest each of them obtained in

approximately $8,508,500.00 in United States currency, and any interest and proceeds traceable

thereto, in that at least this sum, in aggregate, was received in exchange for the unlawful

distribution of more than 1001 pounds (455 kilograms) of methamphetamine, or is traceable

thereto, based on an average street price of $8,500.00 a pound of methamphetamine.

                                     SUBSTITUTE ASSETS

       If any of the above-described forfeitable property of the above-named defendants, as a

result of any act or omission of the defendants B

       (1)     cannot be located upon the exercise of due diligence;

       (2)     has been transferred or sold to or deposited with, a third person;

       (3)     has been placed beyond the jurisdiction of the Court;

       (4)     has been substantially diminished in value; or

       (5)     has been commingled with other property which cannot be subdivided without
               difficulty;

it is the intention of the United States, pursuant to Title 21, United States Code, Section 853(p), to

seek forfeiture of any other property of said defendants up to the value of the above-described

forfeitable property.




                                                    9


         Case 4:18-cr-00293-DGK Document 18 Filed 12/12/18 Page 9 of 10
       All in violation of Title 21, United States Code, Section 853, and pursuant to Rule 32.2(a),

Federal Rules of Criminal Procedure.

                                                    A TRUE BILL.


                                                    /s/ Kathryn Varnon
                                                    FOREPERSON OF THE GRAND JURY


Dated: 12/12/18
       Kansas City, Missouri



/s/ Bruce Rhoades
Bruce Rhoades
Assistant United States Attorney
Narcotics & Violent Crimes Unit
Western District of Missouri




                                               10


        Case 4:18-cr-00293-DGK Document 18 Filed 12/12/18 Page 10 of 10
